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 5
                              UNITED STATES DISTRICT COURT
 6
                                      DISTRICT OF ARIZONA
 7
     MICHAEL J. BROSNAHAN,
 8                                                 No. CV-16-08277-PCT-DLR
 9                       Plaintiff,

           v.                                      [PROPOSED] ORDER GRANTING
10                                                 STIPULATION AND JOINT MOTION
                                                   TO EXTEND TIME TO RESPOND
11
     CALIBER HOME LOANS, INC., et al.
12                                                 (Honorable Douglas L. Rayes)
                         Defendants.
13
14         After review of the Parties’ Stipulation and Joint Motion to Extend Time to
15   Respond (Doc. # 10) and good cause appearing,
16         IT IS ORDERED that the Parties’ Stipulation and Joint Motion to Extend Time to
17   Respond is Granted, and
18         IT IS FURTHER ORDERED directing Plaintiff to file his Amended Complaint
19   within fourteen (14) days of the date of this Order. Defendants shall have twenty-one (21)
20   days after service to file its response to the Amended Complaint.
21
22   Dated this __ day of ______, 201__.
23
                                                   Honorable Douglas L. Rayes
24                                                 United States District Judge

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